Case 3:19-bk-30289            Doc 47    Filed 07/03/19 Entered 07/03/19 13:19:50                  Desc Main
                                        Document     Page 1 of 2


                        IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA

    In re:                                             )      Chapter 11
                                                       )
    Blackjewel, L.L.C., et al.,                        )      Case No. 19-bk-30289
                                                       )
                            Debtors.1                  )      (Joint Administration Requested)

             DEBTORS’ EMERGENCY MOTION FOR AN ORDER AUTHORIZING
             DEBTORS TO OBTAIN INTERIM POSTPETITION FINANCING FROM
                          RIVERSTONE CREDIT PARTNERS

             Blackjewel, L.L.C., and its affiliated debtors and debtors-in-possession (collectively, the

“Debtors”) in the above-captioned chapter 11 cases, hereby move the Court for entry of an order

authorizing the Debtors to obtain $5 million of interim, senior secured debtor in possession

financing from Riverstone Credit Partners (“Riverstone”) on the terms set forth on the term sheet

attached hereto as Exhibit A (the “Term Sheet”). The requested interim financing will allow the

Debtors to secure their assets, avoid the immediate conversion of these cases to cases under chapter

7, and permit the Debtors to continue working collaboratively with their lenders and key

stakeholders to maximize value and obtain additional financing.

             WHEREFORE, the Debtors respectfully request entry of the order, substantially in the

form attached hereto as Exhibit B, granting the relief requested herein and such other and further

relief as is just.




1
 The Debtors in these chapter 11 cases and the last four digits of each Debtor’s taxpayer identification number
are as follows: Blackjewel, L.L.C. (0823); Blackjewel Holdings L.L.C. (4745); Revelation Energy Holdings,
LLC (8795); Revelation Management Corporation (8908) and Revelation Energy, LLC (4605). The headquarters
for each of the Debtors is located at 1051 Main Street, Milton, West Virginia 25541-1215.
Case 3:19-bk-30289     Doc 47   Filed 07/03/19 Entered 07/03/19 13:19:50      Desc Main
                                Document     Page 2 of 2


 DATED: July 3, 2019                    SUPPLE LAW OFFICE, PLLC



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